70 F.3d 637
    315 U.S.App.D.C. 76
    NOTICE: D.C. Circuit Local Rule 11(c) states that unpublished orders, judgments, and explanatory memoranda may not be cited as precedents, but counsel may refer to unpublished dispositions when the binding or preclusive effect of the disposition, rather than its quality as precedent, is relevant.ASIA NORTH AMERICA EASTBOUND RATE AGREEMENT, Appelleev.DNS INDUSTRIES, LTD., Appellant
    No. 94-7256.
    United States Court of Appeals, District of Columbia Circuit.
    Oct. 27, 1995.
    
      Before:  HENDERSON, RANDOLPH and ROGERS, Circuit Judges.
    
    JUDGMENT
    
      1
      This case was heard on the record from the United States District Court for the District of Columbia and on the briefs and arguments by counsel.  The court has accorded the arguments full consideration and has determined the issues presented occasion no need for a published opinion.  See D.C.Cir.Rule 36(b).
    
    
      2
      It is ORDERED and ADJUDGED that the order and judgment from which this appeal has been taken be affirmed substantially for the reasons stated in the district court's memorandum opinion of November 28, 1994.
    
    
      3
      The clerk is directed to withhold issuance of the mandate herein until seven days after disposition of any timely petition for rehearing.  See D.C.Cir.Rule 41(a)(1).
    
    